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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

In re:

VITAL PHARMACEUTICALS, INC., et al.,                           Case No.: 22-17842-PDR

                                                               Chapter 11
      Debtors.                                                 (Jointly Administered)
_______________________________________/

VITAL PHARMACEUTICALS, INC., et al.,

         Plaintiffs,

v.                                                             Adv. Proc. No. 23-01051-PDR

JOHN H. OWOC AND MEGAN E. OWOC,

      Defendants.
_______________________________________/

     RESPONSE IN OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
                AND INCORPORATED MEMORANDUM OF LAW

         John H. Owoc aka Jack Owoc ("Mr. Owoc") and Megan E. Owoc ("Mrs. Owoc"), pursuant

to Fed. R. Civ. P. 65, respond in opposition to the Motion for Preliminary Injunction and

Incorporated Memorandum of Law (the "Motion") filed by Vital Pharmaceuticals, Inc. and its

affiliated debtors in these jointly administered cases (together, the "Debtors"). ECF No. 84. In

support of their response, Mr. and Mrs. Owoc (together, the "Owocs") state:

                                  SUMMARY OF ARGUMENT

         Preliminary injunctive relief is an extraordinary remedy that requires a movant to clearly

carry its burden of persuasion on each of four elements. As set forth infra, the Debtors have failed

to carry their burden on any one element, let alone all four. The Debtors: (1) have failed to show

a substantial likelihood of success in litigation that involves novel legal issues and heavily disputed




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facts; (2) have failed to demonstrate a substantial threat to a sale process that is being concluded

under the auspices of an existing temporary restraining order; (3) have failed to show that the

alleged harm to the sale, which is again already being concluded under a temporary restraining

order, outweighs the prejudice suffered by the Owocs should an injunction be entered; and (4)

have failed to show that the proposed injunction accords with the public interest.

       The Court should deny the Motion.

                                            ARGUMENT

       Fed. R. Civ. P. 65(a)(1) permits the Court to issue a preliminary injunction. The moving

party must satisfy "four prerequisites for the extraordinary relief of preliminary injunction."

SunTrust Bank v. Houghton Mifflin Co., 252 F.3d 1165, 1166 (11th Cir. 2001) (quotation omitted).

"The prerequisites are: (1) that there is a substantial likelihood plaintiff will prevail on the merits;

(2) that there is a substantial threat plaintiff will suffer irreparable injury if the injunction is not

granted; (3) that the threatened injury to the plaintiff outweighs the threatened harm the injunction

may do to the defendant; and (4) that granting the preliminary injunction will not disserve the

public interest." SunTrust, 252 F.3d at 1166 (citation omitted) (emphasis in original). The

Eleventh Circuit has cautioned that "a preliminary injunction is an extraordinary and drastic

remedy that should not be granted unless the movant clearly carries its burden of persuasion on

each of these prerequisites." SunTrust, 252 F.3d at 1166 (emphases supplied); citing Canal

Authority of State of Fla. v. Callaway, 489 F.2d 567, 573 (5th Cir. 1974)).

       The Debtors have failed to satisfy any of the prerequisites for an injunction, let alone

"clearly carr[ied]" their burden of persuasion as mandated by the Eleventh Circuit. In particular:

       A.      The Debtors Have Not Shown a Substantial Likelihood of Success on the
               Merits.

       The party seeking a preliminary injunction must first demonstrate a substantial likelihood


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of success on the merits. This standard sets "a high bar" and requires a movant to show more than

that he "may" prevail at trial—rather, the movant must demonstrate "a substantial likelihood of

success on the merits." See Attwood v. Clemons, 2018 WL 11189668, at *1 (N.D. Fla. May 8,

2018) (emphasis in original). Accordingly, preliminary injunction requests are often denied in

cases with conflicting evidence, matters of first impression or other dynamics that preclude a

movant from showing a substantial likelihood of success. See, e.g., KeyView Labs, Inc. v. Barger,

2020 WL 8224618, at *8 (M.D. Fla., Dec. 22, 2020) (conflicting evidence prevented movant "from

establishing a substantial likelihood of success on the merits" for a preliminary injunction)

(footnote omitted) (citing B&G Equip. Co., Inc. v. Airofog USA, LLC, No. 8:19-cv-403-T-36AEP,

2019 WL 2537792, at *5 (M.D. Fla. June 20, 2019) (adopting report and recommendation denying

preliminary injunction because parties' conflicting declarations prevented moving party from

establishing substantial likelihood of success on merits); Ill. Tool Works Inc. v. BG Prods., Inc.,

No. 8:17-cv-420-T-30AAS, 2017 WL 3017214, at *10 (M.D. Fla. June 22, 2017) (denying

preliminary injunction because parties' conflicting declarations prevented moving party from

establishing substantial likelihood of success on merits), report and recommendation adopted, No.

8:17-cv-420-T-30AAS, 2017 WL 2986240 (M.D. Fla. July 13, 2017)); Palmer High School

Gay/Straight Alliance v. Colorado Springs School Dist. 11, 2005 WL 3244049, at *3 (D. Col.,

Mar. 30, 2005) ("Counsel for plaintiffs admitted that this [legal] question was one of first

impression. At this stage of the proceedings, on a motion for preliminary injunction, the court

cannot conclude that the plaintiffs have established a substantial likelihood of success on the merits

of this statutory claim.").

        Issues of first impression, conflicting evidence and other factors preclude the Debtors from

satisfying this prerequisite. Without limitation:



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              Social media account ownership is a cutting edge area of the law. The Debtors'
               ownership claims overwhelmingly rely on one case, In re CTLI, LLC, 528 B.R. 359
               (Bankr. S.D. Tex. 2015), which is neither binding on this Court nor a recent
               opinion, given the speed at which social media technology develops. The parties'
               dispute over whether social media accounts are property of a bankruptcy estate
               appears to be a matter of first impression in this Circuit.

              The Debtors' evidence is inadmissible and suffers from other flaws. The Motion
               [ECF No. 84], as well as the Debtors' summary judgment motion [ECF No. 20], are
               each supported by a declaration of the Chief Transformation Officer of the Debtors
               ("CTO"), John DiDonato ("Mr. DiDonato"). Mr. DiDonato was appointed as the
               CTO on September 6, 2022, or less than one year ago.1 Mr. DiDonato appears to
               have little or no personal knowledge of the facts at issue in this adversary
               proceeding, which involve social media accounts that are over one decade old.
               Rather, his declarations are couched in terms that include not only his personal
               knowledge, but "discussions with members of the Debtors' management, the Chief
               Transformation's Officer's teams, the Debtors' other advisors," and so forth. See,
               e.g., ECF No. 85, ¶ 3 (declaration of Mr. DiDonato in support of the Motion). The
               DiDonato declarations do not explain how Mr. DiDonato acquired his personal
               knowledge of pertinent facts, or segregate this personal knowledge from the
               hearsay statements of third parties. The Debtors also do not explain why these
               hearsay statements are admissible.

              Absent the inadmissible testimony of Mr. DiDonato, the Debtors do not provide
               any statements or other evidence from company employees.

              At this stage of the proceeding (i.e. prior to formal discovery being obtained), the
               Owocs' evidence is based on their testimony and personal knowledge. Contra Mr.
               DiDonato, who has been an officer of the Debtors for less than one year, Mr. Owoc
               is the founder and sole owner of the Debtors, and served as the Chief Executive
               Officer and Chief Science Officer of Vital Pharmaceuticals, Inc. ("VPX") for over
               twenty-nine years. See J. Owoc. Decl. ¶¶ 1–2.2 Mrs. Owoc also worked in various
               roles in the Debtors' marketing department in 2010 and served as the Senior Vice
               President of Marketing for VPX. M. Owoc. Decl. ¶¶ 1–2.

              The Owocs have testified that the social media accounts at issue in this adversary
               proceeding (together, the "Accounts") were created as personal, individual accounts
               and were segregated from the Debtors' remaining social media accounts. J. Owoc
               Decl. ¶ 9; M. Owoc Decl. ¶ 8. There was never a prepetition suggestion that the
               Accounts belonged to the Debtors. J. Owoc Decl. ¶ 10; M. Owoc Decl. ¶ 9. To the
               contrary, the Owocs maintained exclusive possession, custody and control of the

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       See ECF No. 26 in Case No. 22-17842-PDR (declaration in support of first day pleadings).
2
       "J. Owoc. Decl." refers to the declaration of Mr. Owoc being filed with the Court at ECF No. 41.
"M. Owoc Decl." refers to the declaration of Mrs. Owoc filed at ECF No. 42. For purposes of brevity and
convenience, the declarations of the Owocs are incorporated herein by reference.

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               Accounts, and the Accounts were understood to be exclusively their social media
               accounts and personal property. J. Owoc Decl. ¶¶ 11–19; M. Owoc Decl. ¶¶ 10–
               19. The Owocs exercised, full, complete and unilateral discretion as to the content
               that would be posted on the Accounts, and the majority of posts are of a personal
               nature, designed to complement and enhance the Jack Owoc persona. J. Owoc
               Decl. ¶¶ 21–36; M. Owoc Decl. ¶¶ 21–28. Examples of personal posts include
               pictures of the Owoc family at home, at church, and on vacations, the births of their
               children, and comments by Mr. Owoc about being a leader and husband. Id.

              The Debtors maintain over 20 Instagram accounts, 8 TikTok accounts, 5 Twitter
               accounts and over 19 Facebook accounts, separate and apart from the Accounts
               (together, the "Company Accounts"). J. Owoc Decl. ¶ 20; M. Owoc Decl. ¶ 20.
               Contra the Accounts, the Debtors held possession of the usernames and passwords
               of the Company Accounts prepetition. Id.

              The Company Account @bangenergy on Instagram has some 2.2 million followers,
               as opposed to the Account @bangenergyceo on Instagram having some 1 million
               followers. Id. The Debtors are thus not reliant on the Accounts to market and sell
               their products.

              The Debtors have failed to address the Owocs' affirmative defenses. These
               defenses include: (1) the failure to state a claim by not specifying what specific
               Debtor alleges ownership of what account, (2) waiver, estoppel, and ratification,
               and (3) laches and a statute of limitations bars, since the Debtors never asserted
               ownership claims to the Accounts for years prior to the petition date. See generally
               ECF No. 52 (Owocs' answer).

       Put otherwise, this adversary proceeding involves novel legal issues applied to developing

technology. The parties dispute to what extent this Court should adopt the CTLI opinion and what

legal standard should be applied to social media account ownership disputes. Moreover, the

factual issues involve the ownership of social media accounts spanning over a decade prepetition.

The evidence supporting the Debtors' claims derives from Mr. DiDonato, an individual retained

less than one year ago by the Debtors and whose declarations consistently rely on anonymous

hearsay. In contrast, the Debtors' evidence to date is based on the personal knowledge of the

Owocs, each of whom served as an officer of the Debtors throughout the entire time period at

issue. The parties dispute numerous facts, including the Owocs' control over the Accounts,

interpretations of content posted to the Accounts, and the use of the Accounts (or lack thereof) in


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the Debtors' business. The Debtors have also not addressed the substantial affirmative defenses

raised in the Owocs' answer.

       These dynamics illustrate that the Debtors have fallen short of showing the "substantial

likelihood of success on the merits" that is required for a preliminary injunction.

       B.      The Debtors Will Not Suffer Irreparable Harm Absent an Injunction.

       The second prerequisite for a preliminary injunction is a substantial threat that the movant

will suffer irreparable injury. "A showing of irreparable harm is the sine qua non of injunctive

relief." Northeastern Florida Chapter of Ass'n of General Contractors of America v. City of

Jacksonville, Fla., 896 F.2d 1283, 1285 (11th Cir. 1990) (quotation omitted). "The injury must be

neither remote nor speculative, but actual and imminent." Id. As the Northeastern Florida Court

elaborates:

               An injury is "irreparable" only if it cannot be undone through
               monetary remedies. The key word in this consideration
               is irreparable. Mere injuries, however substantial, in terms of
               money, time and energy necessarily expended in the absence of a
               stay, are not enough. The possibility that adequate compensatory or
               other corrective relief will be available at a later date, in the ordinary
               course of litigation, weighs heavily against a claim of irreparable
               harm.

896 F.2d at 1285 (quotation omitted) (emphasis in original).

       The Debtors allege that they have satisfied this prerequisite because "they are seeking to

solicit qualified, binding bids and consummate a sale," and it is thus "imperative that [they] secure

all of their assets as well as continue their normal operations, including marketing efforts, at this

time." See Mot. ¶ 43.

       This argument runs into an obvious problem, however. By prior order the Court has

extended the temporary restraining order restricting the use of the Accounts through May 29, 2023

(the "TRO"). ECF No. 81. This timeframe encompasses substantially all of the events relating to


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the sale of the Debtors' assets. Specifically, per the Notice of Certain Sale-Related Deadlines filed

by the Debtors in the main bankruptcy case (the "Notice"), the deadline to submit bids for the sale

was May 22, 2023. The auction among competing bidders occurs on May 25, 2023, and the

hearing to approve the sale will occur on June 7, 2023, or a date otherwise determined by the Court.

See generally ECF No. 1283 in Case No. 22-17842-PDR. Put another way, by the time the TRO

expires, the Debtors will already have conducted an auction and possess one or more binding offers

for their assets, subject only to a final sale hearing.

        There is absolutely no basis to enter a preliminary injunction for the duration of this

adversary proceeding when the potential harm alleged by the Debtors, a threat to their sale process,

has either been rendered moot already by the expiration of the bid and auction deadlines, or will

be rendered moot by the sale hearing. Absent the sine qua non of injunctive relief—the threat of

an actual, imminent and irreparable, harm—the Debtors are not entitled to the extraordinary

remedies of Rule 65(a), and the Court should deny the Motion.

        C.      The Balance of Harms Weighs in Favor of the Owocs.

        The third prerequisite for an injunction is that the threatened injury to the Debtors

outweighs that to the Owocs. The Debtors again rely on their pending sale process to allege harm,

and argue that the sale will be damaged absent an injunction. See Mot. ¶ 46. By contrast, the

Debtors contend that any harm to the Owocs will be "minimal or nonexistent and reversable." See

id. at ¶ 47.

        However, these arguments run aground for the same reasons as the Debtors' claim to

irreparable harm: the sale process is being concluded within the timeframe of the existing TRO.

As of this filing, the deadline to submit bids has expired. An auction, if necessary, will occur on

the date of the hearing on the Motion, May 25, 2023. Following the auction, the Debtor will



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possess enforceable, executed offers for its assets, subject only to Court approval at a subsequent

sale hearing. Per the Notice, all of the events will occur prior to May 29, 2023, when the TRO

expires. To the extent the Owocs' control of the Accounts constitutes a threat to the Debtors in the

first instance—which the Owocs dispute—that threat has been alleviated by the TRO. Any harm

posed to the Debtors should an injunction not be entered is illusory.

       By contrast, the Owocs will be substantially prejudiced by an injunction. Social media

accounts require regular activity to maintain and engage followers. The Accounts have been

largely frozen since the outset of this proceeding in mid-March 2023, and an injunction will further

freeze the Accounts for months longer. During this time the Accounts will lose followers and see

their influence wane as the Owocs are unable to post content. As the Accounts have consistently

been used to create and enhance the Jack Owoc persona, the potential damage to Mr. Owoc's brand

itself, is real and substantial. See generally J. Owoc. Decl. ¶¶ 7–36. The Owocs are also being

prejudiced on a personal level, by losing access to social media accounts in which births, parties,

anniversaries, and numerous other life milestones are stored.

       The balance of harms weighs in favor of the Owocs, and the Debtors have thus failed to

meet the third prerequisite for injunctive relief.

       D.      The Public Interest Favors the Owocs.

       The final prerequisite requires the Debtors to demonstrate that the issuance of an injunction

will not disserve the public interest. In support of this factor the Debtors allege only that the public

interest in this context "means the promoting of a successful reorganization." See Mot. 48 (quoting

In re Am. Film Techs, Inc., 175 B.R. 847, 849 (Bankr. D. Del. 1994)). Per the Debtors, an

injunction thus supports the public interest in that it furthers their reorganization efforts. See id.

       As a threshold matter, however, the Debtors are not pursuing a reorganization at all. As



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the Motion itself states, "the Debtors are pursuing a successful sale of their assets for the benefit

of their estates," i.e. a liquidation. See Mot. ¶ 48. Am. Film Techs, Inc., which involved a

bankruptcy court enjoining litigation against a debtor's officers and directors in order to "promote

the chances for a successful reorganization," is thus inapplicable.

       Setting the Debtors' lack of reorganization prospects to one side, the proposed injunction

runs counter to the public interest to any extent it infringes upon the Owocs' free speech by limiting

access to their social media accounts. For example, in JLM Couture, Inc., the plaintiff sought

injunctive relief inter alia prohibiting the defendant from continuing a "social media bullying

campaign." JLM Couture, Inc. v. Gutman, 2021 WL 827749, at *19 (Bankr. S.D.N.Y. Mar. 4,

2021), aff'd in part, vacated in part and remanded, 24 F.4th 785 (2d Cir. 2022). The district court

concluded that this amounted to a request to restrict future speech, and there was "a heavy

presumption against its constitutional validity." JLM, 2021 WL 827749, at *19 (quotation and

citations omitted). Based on these and other considerations, the court denied the injunction request

insofar as it sought an order prohibiting the defendant from her continuing her "social media

bullying campaign." JLM, 2021 WL 827749, at *19–20. The Owocs submit that the same

considerations apply here, and the Court should deny the injunction to any extent it impinges on

their rights to free speech by using the Accounts.




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       WHEREFORE, the Owocs respectfully request that the Court: (1) deny the Motion, and

(2) grant such other relief as the Court deems appropriate.

                               ATTORNEY CERTIFICATION

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court

for the Southern District of Florida and I am in compliance with the additional qualifications to

practice in this Court set forth in Local Rule 2090-1(A).

                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served by Notice

of Electronic Filing via CM/ECF to those parties registered to receive such notice in this case on

May 23, 2023.

                                             SHRAIBERG PAGE P.A.
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